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 2   1007 7th Street, Suite 319
     Sacramento, CA 95814
 3   Telephone: 916-442-5230
 4   Attorney for:
     MAISHA JONES
 5
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     ) CASE NO. CR S-08-0145 FCD
                                   )
11                  Plaintiff,     ) STIPULATION AND ORDER CONTINUING
                                   ) SENTENCING HEARING
12        v.                       )
                                   )
13   MAISHA JONES,                 ) DATE:   July 27, 2009
                                   ) TIME:   10:00 a.m.
14                  Defendant.     ) COURT: Hon. Frank C. Damrell, Jr.
     ______________________________)
15
16                                  Stipulation
17        The parties, through undersigned counsel, stipulate that the
18   judgement and sentencing hearing scheduled for July 27, 2009, may be
19   continued to August 10, 2009, at 10:00 a.m.
20        Scott N. Cameron, attorney for MAISHA JONES, is presently in
21   jury trial in state court (People v. Dramaine Fletcher, et. al.,
22   Sacramento County Superior Court, Case No. 08F09282) and will still
23   be in trial on July 27, 2009.     Accordingly, the parties stipulate
24   that the sentencing hearing currently set for July 27, 2009, be
25   vacated and reset for August 10, 2009, at 10:00 a.m..
26        It is further stipulated that the date for a Motion for
27   Correction of the Pre-Sentence Report to be served and filed may be
28   extended to August 3, 2009.

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 1        The prosecutor has authorized defense counsel to sign this
 2   stipulation on his behalf.
 3
 4   DATED: July 21, 2009             LAWRENCE G. BROWN
                                      Acting United States Attorney
 5
 6
                                by    /s/ Scott N. Cameron, for
 7                                    Russell Carlberg
                                      Assistant U.S. Attorney
 8
 9   DATED: July 21, 2009
                                by    /s/ Scott N. Cameron
10                                    Scott N. Cameron
                                      Counsel for Maisha Jones
11
12                                      ORDER
13        Good cause appearing,
14        The sentencing hearing scheduled for July 27, 2009, is
15   continued to August 10, 2009, at 10:00 a.m.        The date for a Motion
16   for Correction of the Pre-Sentence Report to be served and filed is
17   extended to August 3, 2009.
18
19        IT IS SO ORDERED.
20
21   DATED: July 21, 2009               _______________________________________
                                        FRANK C. DAMRELL, JR.
22                                      UNITED STATES DISTRICT JUDGE
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